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EXHIBIT “J”
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September 23, 2011

Arnold & Itkin; LLP

Attn: Kurt Amold

1401 McKinney Street, Suite 2550
Houston, TX 77010

Re: Determination Letter on Physical Injury Claim

Elton Johnson
Claimant ID: 3495033

Dear Claimant:

The Gulf Coast Claims Facility (the “GCCF”) is the official way for Individuals and Businesses
to file claims for costs and damages incurred as a result of the Deepwater Horizon Incident on April 20,
2010 (the “Oil Spill”). The GCCF and its Claims Administrator, Kenneth R. Feinberg, act for and on
behalf of BP Exploration & Production, Inc. (“BP”) in fulfilling BP’s statutory obligations as a
“responsible party” under the Oil Pollution Act of 1990 COPA”).

All Claimants have the right to consult with an attorney of their own choosing prior to
accepting any settlement or signing a release of legal rights.

This Determination Letter (“Letter"’) is an official notification from the GCCF. This Letter
addresses your Physical Injury Full Review Final Payment Claim Form.

* The GCCF has reviewed the Full Review Final Payment Claim Form and supporting
documentation that you submitted. This Letter informs you of the outcome of that review and describes
your options now. If you disagree with the GCCF’s decision on this Final Payment, you have the right to
file a claim in court, including in the multidistrict litigation pending before the United States District
Court for the Eastern District of Louisiana, titled, In re Oil Spill by the Oil Rig “Deepwater Horizon” in
the Gulf of Mexico, on April 20, 2010 (MDL No. 2179). The muitidistrict litigation-is a’consolidated
grouping of federal lawsuits arising out of the Oil Spill, Information regarding the multidistrict litigation
may be obtained from the court’s website at www.Jaed.uscourts.gov. Ag set forth below, you also have
the option to seek a re-review of the claim from the GCCF or to appeal the Final Offer to a panel of three
neutrals who will make an independent determination of the claim’s value,

XL The Determination of Your Claim and Calculation of Losses.

The amount of the Final Payment Offer (the “Final Payment Offer”), is $2,698,095.00,
which is the amount that can be paid now if you decide to accept the Final Payment Offer and
you sign a Release and Covenant Not to Sue (the “Release”). The Release waives and releases any
claims for bodily injury that you have or may have in the future against BP and all other potentially
responsible parties with regard to the Oil Spill, and prevents you from submitting any bodily injury claim
seeking payment from a court.

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IL Your Fina] Payment.

If you want to be paid the Final Payment Offer and fully resolve the entire claim now, you can
accept the Final Payment Offer. The Final Payment Offer is valid for 90 days after the date of this Letter.
This Letter contains an Election Form with a box to accept the Final Payment Offer and a space for the
required signatures, To accept the Final Payment Offer, check the box on the Election Form indicating
that you accept the Final Payment Offer, sign it and retum it to the GCCF no later than 90 days after the
date of this Letter. We then will send you a Release to be signed and returned to be paid the Final
Payment Amount. The GCCF will mail or wire the Final Payment Amount as indicated on the Claim
Form within 14 days after receipt of a complete and properly signed Release. You must submit original
signatures on the Release to the GCCF. The GCCF will not accept faxes, scanned images or photocopies

of the signed Release.

You may appeal a Final Payment Offer because the total monetary award is in excess of
$250,000. The appeal will be reviewed by a panel of three neutrals who will make an independent
determination of the claim’s value. BP will have the right to appeal to the panel of three neutrals because
the total monetary award is $500,000 or more. For further information on the appeal process, visit the

GCCF website at www.gulfcoastclaimsfacility.com.

PLEASE NOTE: Since the total Final Payment Offer is in excess of $500,000, payment of the

Final Amount will not be made until the expiration of the 14-day period for the right of an appeal of this

_ Claim by BP, The expiration of the right of an appeal is 14 days from the date of this Letter. For further
information on the appeal process, visit the GCCF website at www.cuifcoastclaimsfacility.com.

If you do not accept the Final Payment Offer, then you may choose to seek additional Interim
Payments from the GCCF or request re-review of your Final Payment Offer, as described in this Letter.

OL Lien Withholdings.

Your Final Payment Offer is subject to withholdings for any outstanding liens received by the
GCCF prior to making such payments. If the GCCF has received a lien as to your claim, this Letter has
an Attachment A that provides details on the lien and how it affects your payment or Offer.

IV. Request for Re-Review of Your Final Offer Amount.

You may request a Re-Review of your claim if you believe that a miscalculation occurred or if
you wish to submit any missing documentation. To request a Re-Review, you must complete the Re-
Review Election Form enclosed with this Letter and either mail it to us or submit it through the GCCF
website, no later than 30 days after the date of this Letter. You must identify in the Re-Review Election
Form the reason(s) for your request and identify the documents that form the basis of your request for a

Re-Review.

Within 30 days of receipt of your request for Re-Review of your claim, the GCCF will issue you
anew Determination Letter based upon the Re-Review. Your payment calculation and Final Offer could
change or may be the same as those in this Letter. If you submit any new documents showing additional
losses caused by the Oil Spill, we will include those losses in your new Determination Letter,

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¥. Submit Future Claim(s) for an Interim Payment,

You may submit Interim Payment Claim Forms along with the Required Documentation to show
those damages caused by the Oil Spill, once each calendar quarter, until August 22, 2013. We will review
your claim, issue you 2 new Determination Letter and send you payment of any additional damages
caused by the Oil Spill as shown in your documents. Your new Determination Letter also will provide a
new Final Payment Offer that you will have 90 days to accept. That new Final Payment Offer could be

-higher, lower, or stay the same as the Final Payment Offer in this Letter, depending upon what your
documents show and any new information available to us at the time about the impact of the Oil Spill on

.the Gulf region.

VI What to Do if You Have Questions About This Letter.

If you have any questions about this Letter, please call Michael Rozen at (212) 527-9611 or ernail
Michael at mkrozen@feinbergrozen.com.

Sincerely,
Kasmwthle. R: Gales,

Kenneth R. Feinberg
‘Claims Administrator

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